        Case 1:19-cr-00460-KMW Document 113 Filed 01/26/22 Page 1 of 3

                                                                              USDSSDNY
                                                                              DOCUMENT
                                                                              ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                  DOC#:-- - ~ --,--
SOUTHERN DISTRICT OF NEW YORK
---- -------------------------------------------------------X
                                                                              DATE FILED:           ' /0." (:2.~
UNITED STATES OF AMERICA
                                                                        WAIVER OF RIGHT TO BE PRESENT
                               -v-                                      AT CRIMINAL PROCEEDING

TODD KOZEL,
                                                                           Sl 19-CR-460 (KMW)

                                           Defendant.
------------------------------------------------------------- --X

Check Proceeding that Applies

          Entry of Plea of Guilty

          I am aware that I have been charged with violations of federal law. I have consulted with my
          attorney about those charges. I have decided that I wish to enter a plea of guilty to certain
          charges . I understand I have a right to appear before a judge in a court.room in the Southern
          District of New York to enter my plea of guilty and to have my attorney beside me as I do. I am
          also aware that the public health emergency created by the COVID-19 pandemic has interfered
          with travel and restricted access to the federal courthouse. I have discussed these issues with my
          attorney. By signing this document, I wish to advise the court that I willingly give up my right to
          appear in person before the judge to enter a plea of guilty. By signing this document, I also wish
          to advise the court that I willingly give up any right I might have to have my attorney next to me
          as I enter my plea so long as the following conditions are met. I want my attorney to be able to
          participate in the proceeding and to be able to speak on my behalf during the proceeding. I also
          want the ability to speak privately with my attorney at any time during the proceeding if I wish to
          do so.




Date:
                                                                    /
                    Print Name




_x_ Sentence

          I understand that I have a right to appear before a judge in a courtroom in the Southern District
          of New York at the time of my sentence and to speak directly in that courtroom to the judge who
          will sentence me. I am also aware that the public health emergency created by the COVID-19
          pandemic has interfered with travel and restricted access to the federal courthouse. I do not wish
          to wait until the end of this emergency to be sentenced. I have discussed these issues with my
          attorney and willingly give up my right to be present, at the time my sentence is imposed, in the
          courtroom with my attorney and the judge who will Impose that sentence. By signing this
          document, I wish to advise the court that I willingly give up my right to appear in a courtroom in
          the Southern District of New York for my sentencing proceeding as well as my right to have my
        Case 1:19-cr-00460-KMW Document 113 Filed 01/26/22 Page 2 of 3




        attorney next to me at the time of sentencing on the following conditions. I want my attorney to
        be able to participate in the proceeding and to be able to speak on my behalf at t   roceeding.
        I also want the ability to speak privately with my attorney at any time du · the oceeding if I
        wish to do so.



Date:
                Print Name

I hereby affirm that I am aware of my obligation to discuss with my client the charges against my client,
my client's rights to attend and participate in the criminal proceedings encompassed by this waiver, and
this waiver and consent form . I affirm that my client knowingly and voluntarily consents to the
proceedings being held with my client and me both participating remotely.



Date:
                Print Name




Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also
translated this document, in its entirety, to the defendant before the defendant signed it. The
interpreter's name is: _ _ _ _ _ _ _ _ __



Date:
                Signature of Defense Counsel




Accepted:           / ~ y),\,_                  l«(l(.
                Signature of Judge
                Date:   f   /,:}.(//~do..




                                                    2
       Case 1:19-cr-00460-KMW Document 113 Filed 01/26/22 Page 3 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------- -------------------- ----------------------X
UNITED STATES OF AMERICA,                                                         CONSENT TO PROCEED BY
                                                                                  VIDEOCONFERENCE
                                -v-
                                                                                     S119-CR-460 (KMW)
TODD KOZEL,
                                      Defendant.
------------------------------------- -----------------------X

Defendant TODD KOZEL hereby voluntarily consents to participate in the following proceeding
via videoconferencing:

           Initial Appearance/ Appointment of Counsel

           Arra ignment (If on Felony Information, Defendant Must Sign Separate Waiver of
           Indictment Form)

           Preliminary Hearing on Felony Complaint

           Bail/Revocation/Detention Hearing

           Status and/or Scheduling Conference

_x_




Defendant' s gnatu re
(Judge may obtain verbal consent on
Record and Sign for Defendant)

       101         :>..   \(c,--z. <--   \

Print Defendant's Name                                                Print Defense Counsel's Name



This proceeding was conducted by reliable videoconferencing technology.




       1
Date           '                                                      ..U.S. District Judge/U.S. Magistrate Judge
